                EXHIBIT A




Case 5:20-cv-00336-D Document 107-1 Filed 09/12/22 Page 1 of 3
Farmer, Jessica L (WAS - X75222)

From:                                Farmer, Jessica L (WAS - X75222)
Sent:                                Friday, August 12, 2022 6:25 PM
To:                                  John Hughes; Robert Metro; Andy Penry; Linda Wike; osmith@wallacegraham.com;
                                     Mona Wallace
Cc:                                  Henriques, Mark; Yoo, Thomas J (LAX - X52425)
Subject:                             Page v. Bragg Communities: Defendants' Third Production


Counsel,

Defendants’ third production, bates labeled DEF_00004847 ‐ DEF_00005086 has been uploaded to Aspera, our FTP site:
https://hkfast.hklaw.com/browse/shares/2020

I will send the password to unzip the production in a separate email.

Please let me know if you have any trouble accessing.

Best,

Jessica Farmer | Holland & Knight
Partner
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Pronouns: she, her, hers
________________________________________________
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Farmer, Jessica L (WAS - X75222)

From:                                Farmer, Jessica L (WAS - X75222)
Sent:                                Friday, September 9, 2022 7:09 PM
To:                                  John Hughes; Robert Metro; Andy Penry; Linda Wike; osmith@wallacegraham.com;
                                     Mona Wallace
Cc:                                  Henriques, Mark; Yoo, Thomas J (LAX - X52425); Renstrom, Laura B (JAX - X27222);
                                     Winters, Daniel K (NYC - X73509)
Subject:                             Page v. Bragg Communities: Defendants' Fourth Production


Counsel,

Defendants’ fourth production, bates labeled DEF_00005087 ‐ DEF_00048379 has been uploaded to Aspera, our FTP
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Best,

Jessica Farmer | Holland & Knight
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